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6    Representing the United States of America

7                          UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA
8                                      -oOo-

9    UNITED STATES OF AMERICA,                       Case No.: 2:15-cr-00014-APG-VCF

10                           Plaintiff,              GOVERNMENT’S MOTION TO
                                                     STRIKE DEFENDANT QAZI’S
11                vs.                                “OBJECTION TO MAGISTRATE’S
                                                     ORDER (DKT. #413” [ECF NO. 415]
12   OMAR QAZI,

13                           Defendant.

14         The United State of America, by and through DAYLE ELIESON, United States

15   Attorney, and PATRICK BURNS, Assistant United States Attorney, hereby respectfully

16   submits this Government’s Motion to Strike Defendant Qazi’s “Objection to Magistrate’s

17   Order (DKT. #413” [ECF NO. 415].

18                                 POINTS AND AUTHORITIES

19                                        Argument

20         A. Defendant Qazi’s Violation of Local Rule IA 10-2 Warrants Striking His
              Objection
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           Defendant Qazi’s unprofessional pleading should be stricken. Qazi lists the
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     United States as the “persecutor” and himself as the “accused.” Qazi’s incorrect
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1    identification of the parties is a violation of local rule IA 10-2, which states that the first

2    page of every document identify the name of the plaintiff and defendant as follows:

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     See LR IA 10-2 (emphasis added). The local rules do not allow for parties to be identified
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     by improper, vexatious titles, but rather by the formal titles of “plaintiff” or “defendant.”
12
     Defendant’s status as a pro se litigant does not free him of the responsibility to follow
13
     the law and the rules. See King v. Atiyeh, 814 F.2d 565, 567 (9th Cir.1987) (holding pro
14
     se litigants are bound by the rules of procedure).
15
            The ad hominem and unprofessional nature of Qazi’s noncompliance warrants the
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     Court in exercising its discretionary power to strike the document. LR IA 10-1 (providing
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     the Court “may strike any document that does not conform to an applicable provision of
18
     these rules or any Federal Rule of Civil or Criminal Procedure.”). The Government would
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     not file a document referring to Qazi in an offensive or caricaturish light. The same
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     standard should apply to Qazi who has long been acting as his own attorney and
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     possesses the ability to refrain from such conduct. Without such a standard, the
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     pleadings would degenerate to a very low level of professionalism and dignity. The
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1    document should be stricken as a sanction that will deter Qazi from such conduct in the

2    future. Merely striking the caption would have no deterrent value in that Qazi would

3    just continue to file motions styled in this offensive fashion, knowing that his pleading

4    would still be considered.

5          B. Qazi’s Objection is Patently Frivolous and Should Be Denied If Not
              Stricken
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           Despite a third attempt, Qazi still fails to explain why the matters discussed in
7
     his notice are susceptible to or appropriate for judicial notice. His resort to invoking a
8
     demand for judicial notice is legally frivolous, and calculated to compound the
9
     proceedings, arrogating to himself limited judicial and prosecutorial resources. His
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     demands are not legally cognizable in the slightest.
11
           “Judicial notice” is a court’s recognition of the existence of a fact without the
12
     necessity of formal proof. See Castillo–Villagra v. I.N.S., 972 F.2d 1017, 1026 (9th Cir.
13
     1992). Rule 201 of the Federal Rules of Criminal Procedure governs judicial notice. That
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     rule provides, in relevant part, that the scope of judicial notice governs an adjudicative
15
     fact only, not a legislative fact. Fed.R.Crim.Pro. 201(a). In order for a Court to take
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     judicial notice of a fact, the fact must not be subject to reasonable dispute because it is
17
     generally known within the trial court’s jurisdiction, or can be accurately and readily
18
     determined    from   sources   whose    accuracy    cannot   be   reasonably   questioned.
19
     Fed.R.Crim.Pro. 201(b)(1) and (2). Examples of facts a court has taken judicial notice of
20
     include matters of public record, see Mack v. South Bay Beer Distrib., 798 F.2d 1219,
21
     1282 (9th Cir. 1995), “records and reports of administrative bodies,” Interstate Nat. Gas
22
     Co. v. S. Cal. Gas Co., 209 F.2d 380, 385 (9th Cir.1953), facts relevant to a constitutional
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1    question, see Rothe Development Corp. v. Department of Defense, 545 F.3d 1023, 1045–

2    1046 (C.A. Fed. 2008) (judicially noticing facts relevant to equal protection challenge),

3    or well known or easily established facts, such firmly established scientific laws, see

4    generally Daubert v. Merrell Dow Pham., Inc., 509 U.S. 579, 592 n.11 (1993), and well-

5    known medical facts, see Barnes v. Indep. Auto. Dealers Ass'n of Cal. Health & Welfare

6    Benefit Plan, 64 F.3d 1389, 1395 (9th Cir. 1995).

7          The facts Qazi asks this Court to take judicial notice of are not in any sense

8    susceptible to judicial notice. Instead, Qazi asks this Court to take judicial notice of

9    conclusory, and at times accusatory, arguments about the voluntariness of his post-

10   Miranda statement, his belief that the Miranda warnings he received were insufficient,

11   and baseless claims of undefined “BAD BEHAVIOUR” by the judges in this District. The

12   fact that the Qazi has to make arguments in an attempt to support his request for

13   judicial notice demonstrates that the subject matter of Qazi’s request are reasonably

14   disputed and questioned, and therefore improper for judicial noticing.

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1                                        Conclusion

2          WHEREFORE, after consideration of the included facts, points, authorities,

3    exhibits, and arguments, the United States respectfully requests that this Court GRANT

4    the Government’s Motion to Strike Defendant Qazi’s “Objection to Magistrate’s Order

5    (DKT. #413” [ECF NO. 415].

6
           DATED this 4th day of April, 2018.
7
                                           Respectfully submitted,
8
                                           DAYLE ELIESON
9                                          United States Attorney

10                                                  //s//

11                                         PATRICK BURNS
                                           Assistant United States Attorney
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1
                                CERTIFICATE OF SERVICE
2
             I certify that I am an employee of the United States Attorney’s Office. A copy of
3
     the foregoing GOVERNMENT’S MOTION TO STRIKE DEFENDANT QAZI’S
4
     “OBJECTION TO MAGISTRATE’S ORDER (DKT.#413” [ECF NO. 415] was sent
5
     to Defendant Qazi via United States mail addressed to:
6
             Mr. Omar Qazi #49760048
7            NSDC 2190 East Mesquite Avenue
             Pahrump, Nevada, 89060
8
     and on stand-by counsel Telia Williams, Esq., via electronic service by ECF, on April 4,
9
     2018.
10
             DATED this 4th day of April, 2018.
11

12
                                                   / s / Patrick Burns
13                                            ______________________________
                                              PATRICK BURNS
14                                            Assistant United States Attorney

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